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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                           23-Cr-490 (SHS)

                 -v-

ROBERT MENENDEZ, WAEL HANA,                                         ORDER
JOSE URIBE, and FRED DAIBES,

                                   Defendants.
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SIDNEY H. STEIN, U.S. District Judge.

        The argument scheduled for today is adjourned to 5:00 p.m.


Dated: New York, New York
       July 2, 2024

                                                     SO ORDERED:
